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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                                                             10/16/2020
                                                          :
DILENIA PAGUADA,                                          :
                                                          :
                                        Plaintiff,        :
                                                          :               20-cv-6373 (VSB)
                      -against-                           :
                                                          :                    ORDER
DPI, INC.,                                                :
                                                          :
                                        Defendant. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        It has been reported to the Court that this case has been settled. Accordingly, it is hereby:

        ORDERED that the above-captioned action is discontinued without costs to any party

and without prejudice to restoring the action to this Court’s docket if the application to restore

the action is made within thirty (30) days.

SO ORDERED.

Dated: October 16, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
